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Case 1:04-cv-10981-PBS Document 1701-3 Filed 03/06/09 Page 2 of 3

UNITED STATES DISTRICT COURT ot,

DISTRICT OF MASSACHUSETTS BS ae
“cc cvesesesevesevavutvatsvstavstvevstessavteavesesvecenes ) Pa A TS
Inre:. NEURONTIN MARKETING, ) MDL Docket No. 1629.
SALES PRACTICES AND PRODUCTS ) a
LIABILITY LITIGATION ) Master File No. 04- 10981") -* 1 > ~s.
beac ce keene bee beeeebeneeeeeeeeeaeues beceatsecereeeeeeeeceaeed
) Judge Patti B. Saris
THIS DOCUMENT RELATES TO: )
) Magistrate Judge Lea T. Sorokin
)
CYNTHIA ULETT LYNCH (Plaintiff) )
Lene k eee cece ee en en eee eens e een e eee ne Ede te bean ee eae eees )

PLAINTIFF CYNTHIA ULETT LYNCH’S CERTIFICATION
PER NOVEMBER 9, 2007 ORDER

 

COMES NOW Plaintiff (Cynthia Ulett Lynch), by and through his/her attorneys of record,
and pursuant to United States Magistrate Judge Leo T. Sorokin’s Order of November 9, 2007
certifies as follows:

1. My name is Cynthia Ulett Lynch. [ am Plaintiff, pro se, in the above entitled action.

2. I intend to proceed with the litigation of the above entitled action.

3. | have reviewed the relevant medical records and the allegations of the complaint in
The above entitled action.

4. I believe pursuit of the action is warranted.

Respectfully submitted,

Curth. Vie (\ LA Uk
CYNTHIA ULETTLYNCH ~ |
1817 Dusk Drive

Killeen, Texas 76543

(254) 680-7551
Case 1:04-cv-10981-PBS Document 1701-3 Filed 03/06/09 Page 3 of 3

CERTIFICATE OF SERVICE

| certify that a true and correct copy of the foregoing document has been sent by certified mail,
return receipt requested, to the following on ¢ Ha day of December, 2007.

SHOOK, HARDY & BACON, LLP
2555 Grand Blvd,
Kansas City, MO 64108-2613

DAVIS, POLK & WARDWELL
450 Lexington Avenue
New York, NY 10017

Attorneys for Pfizer Defendants

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Cynthia Ulett Lynch
